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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                  CENTRAL DIVISION
                                     FRANKFORT
                                                )
 MID-AMERICA MILLING COMPANY,                   )
 LLC, et al.,                                   )
                                                )             Case No. 3:23-cv-00072-GFVT
        Plaintiffs,                             )
                                                )
 v.                                             )                       OPINION
                                                )                          &
 UNITED STATES DEPARTMENT OF                    )                        ORDER
 TRANSPORTATION, et al.,
                                                )
      Defendants.
                                                )

                                       *** *** *** ***

       The noble aspirations of our founding documents represent the most successful

experiment in representative democracy the world has even known. But by no means has our

American experiment been perfect. No one could argue, for example, that our Nation has always

treated men and women of all backgrounds in this country equally.

       Attempting to cure this imperfect history, Congress enacted the Disadvantaged Business

Enterprise program, which requires the Department of Transportation to ensure that a certain

portion of federal funds authorized for the highway and transit projects be expended with

disadvantaged business enterprises. To execute this requirement, the Department of

Transportation affords certain minority- and women-owned businesses a presumption of

disadvantage—a rebuttable presumption—but a presumption, nonetheless. These presumptions

have been employed since the 1980s, but the Plaintiffs say enough is enough. The Court agrees.

Because these race and gender classifications violate the Constitution’s guarantee of equal

protection, the pending request for a preliminary injunction will be GRANTED.
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                                                 I

       In 1983, the federal government enacted the Disadvantaged Enterprise (“DBE”) Program.

[R. 1 at 7.] Since then, the law has required that ten percent of federal highway construction

funds be paid to small businesses owned and controlled by “socially and economically

disadvantaged individuals,” as that term is defined in § 8(d) of the Small Business Act (15

U.S.C. § 637). Id. at 7-8; Sherbrooke Turf, Inc. v. Minn. DOT, 345 F.3d 964, 967 (8th Cir.

2003). “[S]ocially disadvantaged individuals” are “those who have been subjected to racial or

ethnic prejudice or cultural bias within American society[.]” 49 C.F.R. Part 26 app. E.

“Economically disadvantaged individuals are socially disadvantaged individuals whose ability to

compete in the free enterprise system has been impaired … as compared to others in the same …

line of business who are not socially disadvantaged.” Id.

       Any person may qualify as socially and economically disadvantaged regardless of their

race or gender. 49 C.F.R. § 26.67(d) & app. E. But under the law, certain racial groups and

women are rebuttably presumed to be disadvantaged. 49 C.F.R. § 26.5. All other applicants for

DBE certification who are not presumed disadvantaged on the basis of their racial or female

status must prove, by a preponderance of the evidence, that they are socially and economically

disadvantaged. 49 C.F.R. § 26.67(a)(3)(i)-(d).

       Under federal law, fund recipients, such as state departments of transportation, are

required to have a DBE Program and must set a DBE participation goal “based on demonstrable

evidence of the availability of ready, willing and able DBEs relative to all businesses ready,

willing and able to participate on” federally funded contracts. 49 C.F.R. §§ 26.21, 26.45(a)–(b).

To the extent feasible, state-recipients of federal highway funds attempt to meet their overall

goals through the use of race and gender-neutral means. 49 C.F.R. § 26.51(a). But to the extent



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they cannot meet their overall goals, the state must utilize “contract goals” to meet its overall

goal. 49 C.F.R. § 26.51(d). On these particular contracts, the recipient sets goals for DBE

subcontractor participation on specific contracts. Id. On contracts with goals, states must meet

the goal for DBE participation or otherwise document that a bidder has made “good faith efforts”

to meet the DBE goal. 49 C.F.R. § 26.53.

       Plaintiffs Mid-America Milling, LLC and Bagshaw Trucking Inc. operate within

Kentucky and Indiana. [R. 27-1 at 4.] Both Plaintiffs regularly bid on United States Department

of Transportation (“DOT”) funded contracts impacted by DBE goals. Id. But neither Plaintiff

receives the rebuttable presumption of disadvantage. The Plaintiffs have previously lost out on

federally funded contracts to DBE firms, even when Plaintiffs’ bids were lower. Believing that

they are denied the opportunity to compete for transportation contracts on equal footing, the

Plaintiffs filed suit seeking a declaratory judgment and to permanently enjoin the Defendants

from applying race- and gender-based classifications in the federal DBE program. Id. at 1. The

Plaintiffs also seek a preliminary injunction pending the final resolution of this matter. [R. 27.]

The Court turns now to that motion.

                                                 II

       “A preliminary injunction is an extraordinary remedy which should be granted only if the

movant carries his or her burden of proving that the circumstances clearly demand it.” Overstreet

v. Lexington—Fayette Urban County Government, 305 F.3d 566, 573 (6th Cir. 2002) (citing Leary

v. Daeschner, 228 F.3d 729, 739 (6th Cir. 2000) (cleaned up) (“[A] preliminary injunction

involv[es] the exercise of a very far-reaching power ….”)). To issue a preliminary injunction, the

Court must consider: (1) whether the movant has shown a strong likelihood of success on the

merits; (2) whether the movant will suffer irreparable harm if the injunction is not issued; (3)



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whether the issuance of the injunction would cause substantial harm to others; and (4) whether

the public interest would be served by issuing the injunction. Overstreet, 305 F.3d at 573 (citations

omitted).

         The Sixth Circuit has clarified that, “[w]hen a party seeks a preliminary injunction on the

basis of a potential constitutional violation, the likelihood of success on the merits often will be

the determinative factor.” City of Pontiac Retired Employees Ass’n v. Schimmel, 751 F.3d 427,

430 (6th Cir. 2014) (quoting Obama for Am. v. Husted, 697 F.3d 423, 436 (6th Cir. 2012)). Even

if, however, the plaintiff is unable “to show a strong or substantial probability of ultimate success

on the merits” an injunction can be issued when the plaintiff “at least shows serious questions

going to the merits and irreparable harm which decidedly outweighs any potential harm to the

defendant if an injunction is issued.” In re Delorean Motor Co., 755 F.2d 1223, 1229 (6th Cir.

1985).

                                                 A

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         Before considering the four preliminary injunction factors, the Court must examine

whether the Plaintiffs have standing. The Government contends that the Plaintiffs are unlikely to

succeed on their facial challenge to the DBE program because the Plaintiffs lack standing to

bring their claims. Article III of the United States Constitution limits the judiciary to resolving

“Cases” and “Controversies.” U.S. Const. Art. III. § 2. Theoretical questions will not suffice to

confer subject-matter jurisdiction to this Court. Buchholz v. Meyer Njus Tanick, PA, 946 F.3d

855, 860 (6th Cir. 2020). The standing doctrine ensures that a live dispute between adverse

parties actually exists, “thereby preventing the federal courts from issuing advisory opinions.”

Carney v. Adams, 141 S. Ct. 493, 498 (2020).



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       Standing consists of three elements. A plaintiff must have “(1) suffered an injury in fact,

(2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be

redressed by a favorable judicial decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016).

“The plaintiff, as the party invoking federal jurisdiction, bears the burden of establishing these

elements.” Id. At the preliminary injunction stage, the Plaintiff must show “a substantial

likelihood of standing.” Waskul v. Washtenaw Cnty. Cmty. Mental Health, 900 F.3d 250, 255

n.3 (6th Cir. 2018).

                                                  a

       The Government first attacks the Plaintiffs’ standing by alleging that the Plaintiffs have

failed to show that they have suffered an injury in fact. [R. 32 at 6.] Generally, an injury for

purposes of standing must be “concrete and particularized” and “actual or imminent.” Lujan v.

Defenders of Wildlife, 504 U.S. 555, 560 (1992). A “conjectural” or “hypothetical” injury will

not do. Id. Moreover, mere allegations of possible future injury are insufficient to satisfy the

first standing element. Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (collecting

cases). Rather, the threatened injury must be certainly impending. Id. (quotations omitted).

       In an equal protection case, an injury in fact arises “[w]hen the government erects a

barrier that makes it more difficult for members of one group to obtain a benefit than it is for

members of another group.” Ne. Fla. Chapter, Associated Gen. Contractors of Am. v.

Jacksonville, 508 U.S. 656, 666 (1993). The injury “is the denial of equal treatment resulting

from the imposition of the barrier, not the ultimate inability to obtain the benefit.” Id.; see also

Parents Involved in Cmty. Schs. v. Seattle Sch. Dist. No. 1, 551 U.S. 701, 719 (2007) (“[O]ne

form of injury under the Equal Protection Clause is being forced to compete in a race-based

system that may prejudice the plaintiff.” (citations omitted)). Thus, to satisfy the first standing



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element, the Plaintiffs must demonstrate that they are “able and ready to bid on contracts and that

a discriminatory policy prevents it from doing so on an equal basis.” Northeastern Florida, 508

U.S. at 666.

       The Plaintiffs aver that they have “a long history of participating in federally financed

road-construction projects and a long history of being discriminated against by the DBE

program.” [R. 1 at ¶ 8.] According to their Complaint, Mid-America and Bagshaw Trucking

routinely bid for federally funded surface transportation contracts in both Kentucky and Indiana,

two states that have established DBE goals in accordance with federal regulations. Id. at ¶ ¶ 11-

12, 35. Plaintiffs evince that they are “qualified, willing, and able” to bid on construction

contracts impacted the federal DBE program. Id. at ¶ 40.

       The Government argues that Plaintiffs’ assertions that they are “able and ready” to bid on

DOT contracts “impacted by [the Government’s] implementation of the federal DBE program” is

not enough to establish injury in fact. [R. 32 at 7 (quoting R. 27-1 at 4-5).] First, according to

the Government, the Plaintiffs’ characterization of DBE participation goals as being essentially

race-based quotas is incorrect because the DOT’s DBE program expressly prohibits recipients

from using quotas to meet DBE goals. Id. (citing 49 C.F.R. § 26.43(a) (“You are not permitted

to use quotas for DBEs on DOT-assisted contracts ….”). Second, because the Secretary of

Transportation has decided to treat the 10 percent goal as only “an aspirational goal at the

national level,” the program does not actually require that 10 percent of surface transportation

federal funding be allocated to DBEs. Id. (citing 49 C.F.R. § 26.41). Rather, fund recipients—

not the federal government—set their own goals based on the DOT’s regulatory guidance. And

while some contracts do have DBE goals, others do not. The Government argues that the

Plaintiffs have neither shown nor alleged that their bids on DBE contracts have ever been



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unsuccessful, and that the Plaintiffs fail to “identify any specific contracts with [DBE] goals on

which they intend to bid in the future.” Id. at 9. Thus, argues the Government, the Plaintiffs

have not shown that the DBE program has caused them injury or will do so in the future.

       Here, closely adhering to the Supreme Court’s guidance in Adarand Constructors, Inc. v.

Pena, 515 U.S. 20 (1995), the Court finds that the Plaintiffs have sufficiently alleged an injury in

fact. As an initial matter, Adarand suggests that, in the context of lost contracts, the question is

whether Plaintiffs “ha[ve] made an adequate showing that sometime in the relatively near future

[they] will bid on another Government contract” that employs DBE goals. 515 U.S. at 211. The

Court concludes that Plaintiffs have satisfied that requirement. Plaintiffs do not merely rely on a

“bare statement of intent” to indicate that they are “able and ready” to bid. See Carney v. Adams,

141 S. Ct. 493, 502 (2020) (“a bare statement of intent alone against the context of a record that

shows nothing more than an abstract generalized grievance” will not suffice to show imminent

injury). Rather, the Plaintiffs aver that that they “regularly bid on and compete for federally

funded highway contracts that contain Kentucky’s and Indiana’s DBE participation goals ….”

[R. 1 at ¶ 37.] Although the Plaintiffs do not state exactly how often they bid, they indicate that

“[e]very month, both states advertise contracts open for bid.” Id. at ¶ 35. Moreover, they allege

that “[m]ost contracts contain a DBE participation goal . . . .” Id. (quotations omitted). Taken

together, the Plaintiffs’ allegations indicate that they have bid on contracts containing DBE goals

in the past, that Kentucky and Indiana routinely advertise contracts open for bid, that many of the

contracts contain DBE goals, and that, despite their disadvantage, that the Plaintiffs still bid on

these federally funded contracts at regular intervals. These pleadings alone are sufficient to

conclude that the Plaintiffs are likely to encounter a contract containing a DBE participation

goal, even if not every contract that Kentucky and Indiana advertise contains such goals.



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       The Plaintiffs have also supplemented the record with declarations of Mid-America’s and

Bagshaw’s owners, who provide further detail as to the regularity at which both companies bid

on contracts funded by the DOT. [See R. 27-2 and R. 27-3.] For example, Mid-America

indicates that federal highway contracts make up, on average, approximately 65% of Mid-

America’s annual business. [ R. 27-2 at ¶ 8.] Mid-America concludes that they have lost at least

82 contracts because of the DBE program in the state of Indiana alone since January 2022. Id. at

¶ 29. Likewise, Bagshaw represents that federal highway contracts equaled between $3 million

and $4 million of Bagshaw’s total revenue over a fourteen-month period beginning in late 2022.

[R. 27-3 at ¶ 7.] Plaintiffs’ detailed accounts of their expertise, prior experience, and the types of

contracts they would like to pursue indicate an ability and readiness to bid on DOT federal

highway contracts. See Adams, 141 S. Ct. at 502-03 (explaining that plaintiffs in other cases

involving unequal treatment have “each introduced at least some evidence that, e.g., they had

applied in the past, there were regular opportunities available with relevant frequency, and they

were ‘able and ready’ to apply for them.”).

       And contrary to the Government’s contention, the Plaintiffs need not necessarily identify

specific contracts that they plan to bid on in the near future, so long as the Plaintiffs have made

“an adequate showing that sometime in the relatively near future it will bid on another

government contract that offers financial incentives to a prime contractor for hiring

disadvantaged subcontractors.” Adarand Contructors, Inc., 515 U.S. at 211. Mid-America and

Bagshaw have made an adequate showing by identifying past contracts they have lost because of

the DBE program and alleging their intention to continue bidding in regular intervals on federal

highway contracts. See, e.g., Cache Valley Elec. v. State of Ut. Dept. of Transp., 149 F.3d 1119,

1122 (10th Cir. 1998) (plaintiff’s injury was imminent where plaintiff “point[ed] to the two



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contracts that it lost as a result of the DBE program” and represented that “it will continue to

apply for UDOT electrical subcontracts in the relatively near future”). Thus, because the

Plaintiffs have shown that they are “able and ready” to bid on DOT funded contracts, their injury

is imminent. The first element of standing is sufficiently met.

                                                 b

       The more difficult issue is the Government’s challenge to standing on the bases of

traceability and redressability. The Government argues that the Plaintiffs’ injuries are not

traceable to the race- or gender-based rebuttable presumption because the entirety of the DBE

program is not based on race or gender. [R. 32 at 9-10.] The “practice of setting goals for DBE

participation on some projects . . . is facially neutral because the DBE program requires only that

qualifying firms be certified as disadvantaged, not that they be owned and run by individuals of a

particular race or gender.” Id. at 10 (quoting Klaver Const. Co. v. Kan. Dep’t of Transp., 211 F.

Supp. 2d 1296, 1302 (D. Kan. 2022)). In other words, not every DOT contract, even those that

have DBE goals, employ the race- or gender-based rebuttable presumption. Thus, even if the

DBE program’s presumptions were enjoined, the program would still continue to operate with its

race- and gender-neutral requirements—including social and economic disadvantage, business

size and structure, ownership, and wealth limits—intact. Id. at 11. And because the Plaintiffs

fail to make any showings that they would qualify for the DBE program under its race- and

gender-neutral requirements, “enjoining the presumptions would leave Plaintiffs in exactly the

same position and would certainly not redress their stated injury.” Id.

       There is a clear split of authority on the causation and redressability requirements for

standing in a disadvantaged enterprise case like this one. One line of cases, which the

Government relies on, stems from Cache Valley Electrical Co. v. Utah Department of



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Transportation, 149 F.3d 1119, 1120 (10th Cir. 1998). In Cache Valley, an electrical

subcontractor seeking contracts with the DOT sought to enjoin a predecessor of the DBE

program presently at issue. The Tenth Circuit found that the subcontractor had adequately

established an injury in fact because the subcontractor was able to point to the two contracts that

it lost as a result of the DBE program and showed that it would continue to apply for UDOT

electrical subcontracts in the relatively near future. Id. at 1122. But, reasoned the court, even

assuming that the subcontractor’s injury was fairly traceable to the DBE program’s rebuttable

presumptions, “it would be pure speculation to conclude that invalidating the allegedly

unconstitutional preferences would ameliorate plaintiff’s ability to compete in any way.” Id. at

1123.

        Cache Valley’s reasoning rested on two determinations. First, that the race- and gender-

based preferences are severable from the rest of the DBE program and that the DBE program

would remain viable even without those preferences. In other words, the race- and gender-

neutral aspects of the DBE program would still exist in order to foster development in small

businesses whose owners have had to overcome social and economic hardship. Id. Thus, “the

DBE program would continue even absent the disputed presumption, so that small businesses

whose owners could prove they were disadvantaged—and thereby qualify as DBEs—would

continue to have an advantage over businesses like [plaintiff] that are too large to qualify as

DBEs.” Id. at 1124.

        The second determination bolstering the court’s declination of redressability was that the

subcontractor had “adduced no evidence that the elimination of the preferences would result in

any meaningful reduction in the number of qualifying DBEs.” Id. Because those who would

have initially gained the race- or gender-based presumption in their favor might still qualify for



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the DBE program under the race- and gender-neutral criteria, the pool of DBE contractors might

still be the same—meaning that the non-DBE plaintiff is still at a disadvantage. See id. at 1125

(“In fact, there is no evidence that any other subcontractors against whom CVE competes would

lose their DBE status as a result of eliminating the presumption.”). Thus, the subcontractor was

unable to establish that a favorable judicial decision striking down the rebuttable presumption

would likely improve the terms of competition it faced.

       The Government also cites two district court decisions that follow Cache Valley’s

reasoning. In Klaver Constr. Co. v. Kansas Dep’t of Transp., 211 F. Supp. 2d 1296, 1302 (D.

Kan. 2002), the court considered a challenge to the DOT’s DBE program by a construction

company that did not qualify as a DBE. The Klaver court found that the plaintiff’s injury was

not traceable to the DBE program because the construction company could not show that the

program’s race- and gender-conscious elements caused its alleged injuries. Id. at 1302. Rather,

the direct cause of any injury that the construction company had suffered was the fact that it did

not qualify as a disadvantaged small business because Klaver and its affiliate were too large and

Klaver itself was owned and controlled by an individual who was too wealthy to qualify as

economically disadvantaged. Id. Furthermore, any traceable injury would not be redressable

because, even if the rebuttable presumption was declared unconstitutional and enjoined, the DBE

program would still continue with its race- and gender-neutral elements. Id. at 1305. Because

the construction company did not qualify for the DBE program for race- and gender-neutral

reasons, the company’s alleged diminished competitiveness would not be materially altered by a

favorable judicial decision. Id. at 1304. Likewise, the court in Interstate Traffic Control v.

Beverage held that, absent fraud, removing the rebuttable presumption from the contract

application process would not alter the number or identity of socially and economically



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disadvantaged individuals eligible to participate in DBE. 101 F. Supp. 2d 445, 453 (S.D. W. Va.

2000) (“[i]n the absence of allegations and proof of fraud by DBE program applicants subject to

the disadvantage presumption, it would be pure speculation for the Court to conclude that

judicial removal of the presumption would diminish the number of DBE program eligible

participants.”).

        Another line of cases lends more favorably to Plaintiffs. The Seventh Circuit, relying on

Northeastern Florida, follows a less stringent approach than the one established in Cache Valley.

In Midwest Fence Corp. v. United States Dep’t of Transp., the district court determined that once

an injury is properly alleged, causation and redressability flow from that injury. No. 10 C 5627,

2011 U.S. Dist. LEXIS 68784 at *26-27 (N.D. Ill. June 27, 2011) (citing Ne. Fla. Gen.

Contractors, 508 U.S. at 666) confirmed in Midwest Fence, 84 F. Supp. 3d 705, aff’d, 840 F.3d

932. Put another way, it follows that the barrier to entry is the cause of the injury and that a

judicial decree removing that barrier redresses the injury. The Midwest Fence court provided a

thorough explanation of the division in case law stemming from differences in interpretation of

Northeastern Florida. In ultimately concluding that Cache Valley’s analysis of standing is far

too stringent, the Midwest Fence court reasoned that the DBE program’s rebuttable presumptions

are a material component of the DBE program. See Midwest Fence Corp., No. 10 C 5627, 2011

U.S. Dist. LEXIS 68784 at *26-31. Thus, the district court “[could] not agree with the Cache

Valley analysis that is ‘pure speculation’ to conclude that eliminating the presumptions would

have no impact on the number of businesses qualifying for the DBE program.” Id. at *31.

        In the present case, the Court finds the Seventh Circuit’s approach more persuasive, and

agrees that the Tenth Circuit’s severability test is too stringent. As the district court in Midwest

Fence explained, Cache Valley and those cases following it rely on the idea that the



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presumptions of disadvantage given to racial minorities and women are severable from the

program as a whole and that the program would have just as much participation if the

presumptions were eliminated. Id. at *27. This notion, however, is a fallacy.

       The Government’s own arguments are contradictory. On the one hand, they contend that

enjoining the presumptions would leave the Plaintiffs in exactly the same position as with the

presumptions and would not redress the Plaintiffs’ injury. [R. 32 at 11.] This argument relies on

Cache Valley’s assumption that the absence of the race- and gender-based presumptions from the

DBE program would not alter the number or identity of socially and economically disadvantaged

individuals eligible to participate in DBE. Practically speaking, this assumption would mean that

the race- and gender-based presumptions have no effect on the number of DBEs in the DBE

program—in other words, the presumptions really do nothing at all. On the other hand, the

Government contends that the race- and gender-based elements are a necessary remedial measure

that serve a compelling interest—that is to say, the rebuttable presumptions really move the ball.

Id. at 13. By this logic, the race- and gender-based measures do both nothing and something.

The Government is trying to have its cake and eat it too.

       Cache Valley held that non-DBE plaintiffs lacked standing because any anticipated

redress from a favorable decision would be wholly speculative. 149 F.3d at 1123. According to

the Tenth Circuit, the lack of evidence showing a meaningful reduction in the number of DBEs is

“merely hypothesizing that elimination of the presumption would improve its terms of

competition.” Id. at 1124. But this line of reasoning itself rests on its own hypothesis that the

elimination of the rebuttal presumptions has no effect on the number of DBEs. Again, that

hypothesis is counter to the Government’s own position, which elucidates the necessity of the

race- and gender-based elements as a means of remedying past discrimination. The DBE



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program itself calls for the use of race-conscious measures if using purely race-neutral means

does not allow a recipient to achieve their contract goals for the year. See 49 C.F.R. § 26.51.

Thus, the race- and gender-based presumption must have some impact on the number of

competitors who qualify as DBEs. If the presumption had no effect, then what would be its point

and purpose?

       The presumptions must have an impact on the number of qualifying DBEs—that is why

Congress has previously rejected any amendment to the DBE program that would eliminate the

presumption of social and economic disadvantage for certain minority groups and women. See

144 Cong. Rec. 40, 1998. In all practicality, there exists a finite pool of DOT contracts open for

bidding. A certain percentage of these contracts must go to DBEs. Businesses owned by

particular racial minorities and women are given a presumption as qualifying as DBEs.

Eliminating that presumption would require those minority and women owned businesses to

qualify as DBEs through race- and gender-neutral means. They may or may not qualify as DBEs

without the presumption, and it would be quite the stretch to hypothesize that every minority- or

woman-owned business would otherwise qualify as a DBE under the program’s neutral criteria.

Thus, it is not “wholly speculative” to conclude that the number of DBEs would be reduced.

And with less DBEs jockeying for the finite number of contracts available to bid on, the terms of

competition for non-DBEs, like the Plaintiffs here, inherently improves. Accordingly,

eliminating the race- and gender-based presumptions would redress the injury harming Plaintiffs.

Because the Plaintiffs have established an injury resulting from the denial of equal treatment that

is traceable to the DBE’s race- and gender-based presumption and redressable by a favorable

decision by this Court, the Plaintiffs have shown a likelihood of success on standing. The Court

now turns to the four preliminary injunction factors.



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                                                  B

       Have the Plaintiffs shown there to be a strong likelihood of success on the merits? The

Court first considers the DBE program’s race-based presumption. The Fourteenth Amendment’s

equal protection guarantee applies “to all persons … without regard to any differences of race, of

color, or of nationality ….” Yick Wo v. Hopkins, 118 U. S. 356, 369 (1886). Thus,

“[g]overnment policies that classify people by race are presumptively invalid.” Vitolo v.

Guzman, 999 F.3d 353, 360 (6th Cir. 2021) (citing U.S. Const. amend. XIV; Adarand

Contructors, Inc., 515 U.S. at 234-35). Any exception to the Constitution’s demand for equal

protection must survive strict scrutiny. Students for Fair Admissions, Inc. v. President &

Fellows of Harv. Coll., 600 U.S. 181, 206 (2023). In order for a discriminatory classification to

survive this “daunting” two-step examination, the Government must first show that the racial

classification is being employed to further a compelling government interest. Id. at 206-07. If

there is a compelling government interest, the Government must then prove that its use of race is

narrowly tailored—in other words, “necessary to achieve that interest.” Id. at 207 (internal

quotation omitted).

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       The Supreme Court has identified “only two compelling interests that permit resort to

race-based government action.” Id. The first is “remediating specific, identified instance of past

discrimination that violated the constitution or a statute.” Id. (citing cases). The other is

“avoiding imminent and serious risks to human safety in prisons, such as a race riot.” Id.

       Here, the Government contends it has a compelling interest because the DBE program

“targets and seeks to remedy past, intentional discrimination in the transportation industry—

discrimination that the government has had a hand in.” [R. 32 at 15.] But remedial policies do



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not always justify preferential treatment based on race. Vitolo, 999 F.3d at 361 (“The Supreme

Court has told us that remedial policies can sometimes justify preferential treatment based on

race.” (emphasis in original) (citing City of Richmond v. J.A. Croson Co., 488 U.S. 469, 493-94

(1989) (plurality opinion); Adarand, 515 U.S. at 237). “[T]he bar is a high one.” Id.

       Three criteria must be met for the Government to have a compelling interest in

remedying past discrimination. Id. “First, the policy must target a specific episode of past

discrimination. It cannot rest on a ‘generalized assertion that there has been past discrimination

in an entire industry.’” Id. (quoting J.A. Croson Co., 488 U.S. at 498); see also Aiken v. City of

Memphis, 37 F.3d 1155, 1162-63 (6th Cir. 1994) (en banc) (“there must be ‘strong’ or

‘convincing’ evidence of past discrimination by that governmental unit.”) (citations omitted).

“Second, there must be evidence of intentional discrimination in the past.” Vitolo, 999 F.3d at

361 (emphasis in original). Statistical disparities by themselves are not enough, although they

may be used as evidence to establish intentional discrimination. Id. “Third, the government

must have had a hand in the past discrimination it now seeks to remedy.” Id. In other words, the

Government must show that it actively or passively participated in the past discrimination. Id.

       In this case, the Government argues that “there is a strong basis in evidence that the DOT

DBE program targets specific episodes of past, intentional discrimination in which the

government participated and now seeks to remedy.” [R. 32 at 15.] In support, the Government

cites a compelling interest report (which collected over 200 disparity studies, other reports and

studies, and congressional testimony) that purports to document the past discrimination and its

lingering effects on the ability of DBE’s to equally compete for government contracts. Id.; [see

also R. 32-2.] The Government also provides statistical disparity evidence and anecdotal

evidence, along with expert reports, which Congress reviewed before renewing the DBE



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Program, that conducted regression analyses that eliminate potentially non-discriminatory

reasons for the disparities. [See R. 32-3; R. 32-4.]

       In previous challenges to DBE programs, other circuits have weighed this type of

evidence and concluded that it sufficiently provides persuasive evidence of specific instances of

discrimination and its continuing effects. [See R. 32 at 17 (citing Assoc. Gen. Contractors of

Am., San Diego Chapter, Inc. v. Cal. Dep’t of Transp., 713 F.3d 1187, 1196 (9th Cir. 2013); H.B.

Rowe Co. v. Tippett, 615 F.3d 233, 257 (4th Cir. 2010); Adarand Constructors, Inc. v. Slater,

228 F.3d at 1174; Midwest Fence, 84 F. Supp. 3d 705, 727 (N.D. Ill. 2015); Rothe Dev. Corp. v.

U.S. Dep’t of Def., 107 F. Supp. 3d 183, 209–10 (D.D.C. 2015))]. The Sixth Circuit, however,

appears skeptical of the broad “societal discrimination” type of evidence that the Government

provides. See Vitolo, 999 F. 3d at 361-62.

       In Vitolo, the Sixth Circuit explained that the Government’s compelling interest did not

meet any of the three requirements required to jump the first hurdle of strict scrutiny. The panel

found that the Government’s evidence pointed “generally to societal discrimination against

minority business owners[]” but did not “identify specific incidents of past discrimination.” Id.

at 361. Nor did the Government provide much evidence of past intentional discrimination

against the many groups to whom it grants preferences. Id. And lastly, the Government did not

show that it participated in the discrimination is sought to remedy. Id.

       Even more recently, a sister court within the Sixth Circuit considering the Small Business

Association’s Section 8(a) program examined the same exhibits that the Government presents

here. See Ultima Servs. Corp. v. United States Dep’t of Agric., 683 F. Supp. 3d 745 (E.D. Tn.

2023). Applying Vitolo, the district court concluded that the Government’s evidence failed to

show a compelling interest for the use of a race-based rebuttable presumption. Id. at 769.



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Essentially, the Ultima court reasoned that the Government’s evidence did not pass muster

because the examples of discrimination contained within the exhibit related too broadly to the

federal government’s actions in different areas of the national economy. Id. at 768. “Because

the Court must determine whether the use of racial classifications is supported with precise

evidence, examples of the federal government’s passive participation in areas other than the

relevant industries do not support [the federal government’s] use of the rebuttable presumption

here.” Id. at 769 (citing Vitolo, 999 F.3d at 361) (emphasis added).

       The Court is compelled to follow this line of reasoning. While the Court is aware that its

decision goes down the road less travelled, its compass is controlled by the Sixth Circuit. Vitolo

elucidates that “[w]hen the government promulgates race-based policies, it must operate with a

scalpel. And its cuts must be informed by data that suggest intentional discrimination.” Vitolo,

999 F.3d at 361. Although other courts have found that the Government’s imprecise evidence

has supported a compelling interest, this Court finds, like its sister court in Ultima, that the

Government’s proffered proof is too dull of a scalpel.

       The Court in no way doubts that racial barriers still persist when it comes to the success

of minority-owned businesses. But the Government’s evidence here is too broad. It points to

societal discrimination against minority-owned businesses generally, but does not offer much

evidence of past discrimination against the many groups to whom it grants a preference via the

DOT’s DBE program. As Vitolo explains, the preferences “for Pakistanis but not Afghans;

Japanese but not Iraqis; Hispanics but not Middle Easterners—is not supported by any record

evidence at all.” Id. The same is true here. Simply compiling an extensive portfolio of studies

that show disparities exist for minority-owned businesses generally speaking does not support a

government imposed racial preference for only some of those groups. The Government’s



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imprecision is its fatal flaw. If it wants to grant preferences to certain groups, it must specifically

show how the Department of Transportation has previously discriminated against those groups.

It cannot group all minority owned businesses into one gumbo pot but then try to scoop out only

the sausage and not the okra.

                                                    2

        Even if the Government could establish a compelling interest, the race-based rebuttable

presumption is not narrowly tailored. “Narrow tailoring requires courts to examine, among

other things, whether a racial classification is ‘necessary’—in other words, whether race-neutral

alternatives could adequately achieve the governmental interest.” Students for Fair Admissions,

600 U.S. at 311 (citing Grutter v. Bollinger, 539 U.S. 306, 327, 339-40 (2003)). The

government must “engage in a genuine effort to determine whether alternative policies could

address the alleged harm.” Vitolo, 999 F.3d at 362. Thus, “in turn, a court must not uphold a

race-conscious policy unless it is ‘satisfied that no workable race-neutral alternative’ would

achieve the compelling interest.” Id. (quoting Fisher v. Univ. of Tex. at Austin, 570 U.S. 297,

312 (2013)). Further, “a policy is not narrowly tailored if it is either overbroad or underinclusive

in its use of racial classifications.” Id.

        Here, the DOT’s DBE Program is not as narrowly tailored as the Government proclaims.

The Government points out that the DBE program’s implementing regulations expressly provide

for the consideration of race-neutral alternatives because DOT-funds recipients must always

attempt to meet its annual DBE participation goal by using race- and gender-neutral means to the

maximum extent possible. [R. 32 at 21]; see also 49 C.F.R. § 26.51(a). The Government also

contends that the DBE program is “flexible”—the 10 percent participation goal has never been a

quota, but rather “an aspirational goal at the national level, which [DOT] uses as a tool in



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evaluating and monitoring DBEs’ opportunities to participate in DOT–assisted contracts.” [R.

32 at 21 (citing 49 C.F.R. § 26.41(b)). The Court takes these points. But the Government’s

additional arguments are unconvincing.

       First, as explained above, the Government has not shown how each of its favored groups

suffered discrimination. Instead, it assesses past discrimination against minority-owned

businesses broadly, but then carves out preferences for only some minority groups. A contract

business owned by man from Pakistan receives the rebuttable presumption, but the business

owned a man from Afghanistan does not. Why? The Government contends that this preference

for only some minority groups prevents the DBE program from being overbroad. [R. 32 at 21

(“The program is not overbroad because its presumptions do not invariably apply to all minority-

or women-owned businesses.”).] But these preferences for specific minorities, without clear

support, “fail[s] to articulate a meaningful connection between the means … employ[ed] and the

goals … pursue[d].” Students for Fair Admissions, 600 U.S. at 186. This “unclear connection”

amounts to a “scattershot approach” that “does not conform to the narrow tailoring strict scrutiny

requires.” Id. at 187; Vitolo, 399 F.3d at 364. The Government’s argument is akin to saying that

all bourbons are made up of at least 51% corn, but that only certain bourbons should actually be

called “bourbon.” The Government also contends that the DBE program is not underinclusive

because non-minority-owned firms may apply for DBE certification on a case-by-case basis. But

this application process is a high hurdle. See 49 C.F.R. § 26.67(d). The fact of the matter is that

some minority groups receive a presumption, albeit rebuttable, while others do not.

       The DBE program also fails the narrow tailoring prong because it lacks a “logical end

point.” Students for Fair Admissions, 600 U.S. at 221 (citing Grutter, 539 U. S. at 342). In

Students for Fair Admissions, the Supreme Court took Grutter at its word when striking down



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the use of race-based admissions policies at our nation’s universities. The Grutter court, in its

willingness to temporarily suspend the Constitution’s equal protection guarantee, emphasized

that “all race-conscious admissions programs have a termination point”; they “must have

reasonable durational limits”; they “must be limited in time”; they must have “sunset

provisions”; they “must have a logical end point”; their “deviation from the norm of equal

treatment” must be “a temporary matter.” Grutter, 539 U.S. at 342.

       There is no reason to believe that Grutter’s reasoning, adopted by a majority of the

Supreme Court in Students for Fair Admissions, does not extend to all race-conscious programs.

Indeed, the Supreme Court has explained that “[a] core purpose of the Fourteenth Amendment

was to do away with all governmentally imposed discrimination based on race.” Palmore v.

Sidoti, 466 U.S. 429, 432 (1984); see also Students for Fair Admissions, 600 U.S. at 311

(“Importantly, even if a racial classification is otherwise narrowly tailored to further a

compelling governmental interest, a deviation from the norm of equal treatment of all racial and

ethnic groups must be a temporary matter—or stated otherwise, must be limited in time.”

(internal quotations omitted) (Kavanaugh, J. concurring)). “All ‘race-based governmental

action’ should ‘remai[n] subject to continuing oversight to assure that it will work the least harm

possible to other innocent persons competing for the benefit.’” Students for Fair Admissions,

600 U.S. at 212 (quoting Grutter, 539 U.S. at 341). “[T]he deviation from the norm of equal

treatment of all racial and ethnic groups is a temporary matter, a measure taken in the service of

the goal of equality itself.” J.A. Croson Co., 488 U.S. at 510.

       The DOT’s DBE program has been around since the Cold War. It was implemented

during the same year that the Space Shuttle Challenger launched its maiden voyage.




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Star Wars: Episode VI—Return of the Jedi was the top grossing domestic movie, and Kenny

Rogers’s and Dolly Parton’s “Islands in the Stream” topped the country music charts for two

straight weeks. Is there actually a “logical end point” for the DBE’s racial presumptions?

Repeated Congressional approval is no cure. Students for Fair Admissions makes clear that

periodic review does not make unconstitutional conduct constitutional. See 600 U.S. at 225

(“Grutter never suggested that periodic review could make unconstitutional conduct

constitutional.”). Because the DBE program’s racial preferences are not tethered to a foreseeable

conclusion, the race-based presumption fails to be narrowly tailored.

                                                 C

       The Court now considers the Plaintiffs’ challenge to the gender-based presumption. Sex-

based discrimination, like racial classifications, is presumptively invalid. Vitolo, 999 F.3d at 364

(citing U.S. Const. amend. XIV; United States v. Virginia, 518 U.S. 515, 531 (1996)). The

Government must provide an “exceedingly persuasive justification” for its discriminatory policy

to stand. Virginia, 518 U.S. at 531. The Government meets this burden by proving that “(1) a

sex-based classification serves ‘important governmental objectives,’ and (2) the classification is

‘substantially and directly related’ to the government’s objectives.” Vitolo, 999 F.3d at 364

(quoting Miss. Univ. for Women v. Hogan, 458 U.S. 718, 724, 730 (1982)). “[R]emedying

specific instances of past sex discrimination can serve as a valid governmental objective, [but]

general claims of societal discrimination are not enough.” Id.

       Here, the Government’s proffered interest for its sex-based presumption is the same as

for its race-based presumption: to remedy past discrimination. The Government also relies on

the same disparity studies and statistical surveys as it did for race to show that women-owned

businesses suffered and continue to suffer a disadvantage. But “proving broad sociological



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propositions by statistics is a dubious business, and one that inevitably is in tension with the

normative philosophy that underlies the Equal Protection Clause.” Craig v. Boren, 429 U.S. 190,

204 (1976).

          For similar reasons as stated above, the Court is skeptical of the Government’s evidence.

On the one hand, the Government’s studies point out disparities between male-owned businesses

and female-owned businesses. [See R. 32-3; R. 32-4.] For example, female owned businesses

obtain loans that are smaller and less favorable than loans obtained by their male counterparts.

[See 32-2 at 34-35.] But, like the survey examined in Vitolo, evidence of this nature does

“nothing to support an inference of intentional discrimination.” 399 F.3d at 365 (emphasis

added).

          And on the other hand, the quantitative evidence, including the regression analyses, does

not explain the extent to which women-owned DOT contractors have lost out on jobs because of

blatant discrimination. Also, while the Court is sympathetic to the anecdotal evidence evinced

by some women who feel as though they are disadvantaged, the evidence does not provide a

clear record that women-owned contractors regularly bid for DOT funded contracts but fail to

receive them because of blatant discrimination. Cf. Coral Constr. Co. v. King County, 941 F.2d

910, 921 (9th Cir. 1991) (relying on lengthy affidavits from multiple women complaining in

varying degree of specificity about discrimination within the local construction industry).

          Without evidence that it participated in intentional discrimination within the context of

DOT funded contracts, the Government fails to meet its burden of proving that the DOT’s

rebuttable presumption serves an important government interest. And without this specific

evidence, the Government is unlikely to show that the DOT’s sex-based classification is

appropriately tailored to the Government’s objectives. Because the Government is unlikely to



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provide an exceedingly persuasive justification for its sex-based presumption, the classification

cannot stand.

                                                       C

        Because the Government failed to justify its discriminatory policies, the Plaintiffs will

likely win on the merits of their constitutional claims. 1 In most constitutional cases, that is

dispositive. See Vitolo, 999 F. 3d at 365 (quoting Bonnell v. Lorenzo, 241 F.3d 800, 809 (6th

Cir. 2001) (“[W]hen reviewing a motion for a preliminary injunction, if it is found that a

constitutional right is being threatened or impaired, a finding of irreparable injury is mandated.”)

(emphasis added)). Nevertheless, the Court will briefly address the remaining factors.

        Will the Plaintiffs suffer irreparable harm if a preliminary injunction is not issued? The

Government says no. It argues that, because the Plaintiffs have not identified any contracts with

DBE goals that are currently being let, and because of the Plaintiffs’ “lengthy delay” in moving

from preliminary relief, there is no imminent harm. [R. 32 at 24.] Indeed, “[t]o merit a

preliminary injunction, an injury must be both certain and immediate, not speculative or

theoretical.” Memphis A. Philip Randolph Inst. v. Hargett, 978 F.3d 378, 391 (6th Cir. 2020)

(quotations omitted) (cleaned up). But as the Court previously determined, the Plaintiffs have

provided evidence that they regularly bid on DOT contracts. The Plaintiffs do not have a crystal

ball to know precisely when contracts with DBE goals will be available to let. But it is not

speculative to conclude that those types of contracts will become available. And when they do,

the Plaintiffs will be at an automatic disadvantage to certain types of competitors.




1
  This likelihood of success also encapsulates a likelihood of success on the Plaintiffs’ challenge to the DOT’s
regulatory scheme. See 5 U.S.C. §§ 551(13), 702, 704, 706(2)(B) (“A reviewing court shall …hold unlawful and set
aside agency action … found to be … contrary to constitutional right ….”).

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        As to the remaining two factors, they too weigh in favor of temporary relief. “The two

remaining preliminary injunction factors—whether issuing the injunction would harm others and

where the public interest lies—merge when the government is the defendant.” Kentucky v.

Biden, 57 F.4th 545, 556 (6th Cir. 2023). The Government contends that the Plaintiffs concede

that “the government and the public always have a strong interest in the implementation of the

laws enacted by their elected representatives.” [R. 32 at 25 (citing Maryland v. King, 567 U.S.

1301, 1303 (2012) (“Any time a [government] is enjoined by a court from effectuating statutes

enacted by representatives of its people, it suffers a form of irreparable injury.”)).] The Court

cannot see, however, that the Government’s violation of a constitutional right ever serves the

public’s interest. See Vitolo, 999 F.3d at 360 (“[N]o cognizable harm results from stopping

unconstitutional conduct, so ‘it is always in the public interest to prevent violation of a party’s

constitutional rights.’”) (quoting Deja Vu of Nashville, Inc. v. Metro. Gov’t of Nashville &

Davidson Cnty., 274 F.3d 377, 400 (6th Cir. 2001)). “And at bottom, the public interest lies in a

correct application of the law.” Biden, 57 F.4th at 557 (internal quotations and citation omitted).

Temporary relief would not cause substantial harm to others and would serve the public’s

interest.

                                                  D

        The Plaintiffs are entitled to a preliminary injunction. But how far should that injunction

reach? The Plaintiffs request a broad remedy—essentially an Order enjoining the Defendants

from implementing or enforcing the DBE Program’s race and gender presumptions and DBE

participation goal nationwide. The Court finds that granting such broad relief would be unwise.

        The Sixth Circuit has held that a “district court should limit the scope of [an] injunction

to the conduct ‘which has been found to have been pursued or is related to the proven unlawful



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conduct.’” Howe v. City of Akron, 801 F.3d 718, 753 (6th Cir. 2015) (quoting E.E.O.C. v.

Wilson Metal Casket Co., 24 F.3d 836, 842 (6th Cir. 1994)). And this Court has previously

written about the ongoing debate within the judiciary about the scope of injunctive relief. See

Commonwealth v. Biden, 571 F. Supp. 3d 715, 734-35 (E.D. Ky. 2021). In finding that

redressability “is properly limited to the parties before the Court[,]” the Court explained Justice

Thomas’s skepticism of “nationwide injunctions.” Id. at 734 (citing Trump v. Hawaii, 138 S. Ct.

2392, 2425-29 (2018) (Thomas, J., concurring) (“[In the past, as] a general rule, American courts

of equity did not provide relief beyond the parties to the case.”)). In Justice Thomas’s view, the

sweeping relief brought by nationwide injunctions encourages “forum shopping” and makes

“every case a national emergency for the courts and the Executive Branch.” Trump, 138 S. Ct. at

2425.

        Likewise, Justice Gorsuch has noted that nationwide injunctions “raise serious questions

about the scope of courts’ equitable powers under Article III.” Dep’t of Homeland Sec. v. New

York, 140 S. Ct. 599, 600 (2020) (Gorsuch, J., concurring). Such injunctions are impracticable

and “force judges into making rushed, high-stakes, low-information decisions.” Id. “District

courts should allow legal questions to percolate through the federal court system.” Biden, 571 F.

Supp. 3d at 734 (citing Trump, 138 S. Ct. at 2425 (Thomas, J. concurring)). “Careful review by

multiple district and circuit courts … allows the Supreme Court the benefit of thoughtful and, at

times, competing outcomes.” Id.

        Perhaps most compelling, however, is the Sixth Circuit’s review of this Court’s

injunction in Commonwealth v. Biden. After granting the Plaintiffs’ motion for a preliminary

injunction, the Court enjoined the federal government from enforcing a vaccine mandate for

federal contractors and subcontractors in Kentucky, Ohio, and Tennessee—the plaintiff states.



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Biden, 571 F. Supp. 3d at 735. In reviewing the Court’s injunction, the Sixth Circuit held that

the Court “abused its discretion in extending the preliminary injunction’s protection to non-party

contractors in the plaintiff States.” Biden, 57 F.4th at 557. The Sixth Circuit found that “an

injunction limited to the parties can adequately protect the plaintiffs’ interests while the case is

pending disposition on the merits” and, consequently, modified the scope of the injunction to

prohibit the federal government from enforcing the contractor mandate against the parties only.

Id.

         Given this discussion, the Court finds that redressability in the present case is properly

limited to the parties before the Court. Thus, the scope of the preliminary injunction shall apply

to the Plaintiffs in the states within which they operate, Kentucky and Indiana.

                                                  III

         The Court is keenly aware of the past discrimination that certain groups of people have

faced in this country. And the Court is sure that the federal government has nothing but good

intentions in trying to remedy past wrongs. But remedying those wrongs must still pass

constitutional muster. The federal government cannot classify people in such a manner that

violates the principles of equal protection. Accordingly, and the Court being otherwise

sufficiently advised, it is hereby ORDERED as follows:

      1. The Plaintiffs’ Motion for a Preliminary Injunction [R. 27] is GRANTED;

      2. The United States Department of Transportation, Peter Buttigieg, Shailen Bhatt, Todd

         Jeter, and any successors in office, are ENJOINED from mandating the use of race- and

         gender-based rebuttable presumptions for United States Department of Transportation

         contracts impacted by DBE goals upon which the Plaintiffs bid.




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   3. The pending Motion to Dismiss [R. 31] will be DENIED without prejudice pending the

      resolution of any interlocutory appeal of this Order. The Defendants are granted leave of

      the Court to refile their motion, if necessary.



      This the 23rd day of September 2024.




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